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                                   8                                  UNITED STATES DISTRICT COURT

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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                  12    AMERICAN FEDERATION OF
Northern District of California




                                        GOVERNMENT EMPLOYEES, AFL-CIO,
 United States District Court




                                  13    et al.,                                               No. C 25-01780 WHA

                                  14                   Plaintiffs,
                                                                                              ORDER RE SUBJECT-MATTER
                                  15            v.                                            JURISDICTION
                                  16    UNITED STATES OFFICE OF
                                        PERSONNEL MANAGEMENT, et al.,
                                  17
                                                       Defendants.
                                  18

                                  19

                                  20                                          INTRODUCTION

                                  21         Early on, I followed three recent decisions in other district courts holding that claims

                                  22    brought by public-sector unions concerning federal employee terminations had to be channeled

                                  23    through the Merit Systems Protection Board and/or the Federal Labor Relations Authority and

                                  24    therefore the district court had no subject-matter jurisdiction over those claims, although I

                                  25    accepted subject-matter jurisdiction over claims by the organizational plaintiffs. After further

                                  26    briefing, however, this order holds that the district court does have subject-matter jurisdiction

                                  27    over these claims by public-sector unions and that my earlier ruling to the contrary was

                                  28    mistaken.
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                                   1                                                 ANALYSIS

                                   2            “The district courts shall have original jurisdiction of all civil actions arising under the

                                   3       Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. “Not may have

                                   4       jurisdiction, but shall.” Axon Enter. v. FTC, 598 U.S. 175, 205 (2023) (Gorsuch, J.,

                                   5       concurring). Congress nonetheless may countermand jurisdiction by enacting other schemes

                                   6       for specific claims — usually review by an agency and then by an appeals court. The result is

                                   7       that a district court shall hear a challenge to an agency action unless (1) Congress provided a

                                   8       statutory review scheme limiting Section 1331 and (2) the claims brought are of the type

                                   9       Congress intended to be reviewed within it. Thunder Basin Coal Co. v. Reich, 510 U.S. 200,

                                  10       212–13 (1994) (also identifying guideposts for inferring Congress’s intent); Axon Enter., 598

                                  11       U.S. at 185–96 (applying guideposts to hold that despite statutory review schemes plaintiffs’

                                  12       claims needed to be heard in district court, reversing Court of Appeals for the Ninth Circuit).
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                                  13            In this case, all agree that the Civil Service Reform Act of 1978 established a

                                  14       comprehensive system for reviewing personnel action against federal employees and practices

                                  15       related to collective bargaining. United States v. Fausto, 484 U.S. 439, 455 (1988);

                                  16       Karahalios v. Nat’l Fed’n of Fed. Emps., Loc. 1263, 489 U.S. 527, 536–37 (1989). That

                                  17       system features review by the Merit Systems Protection Board of certain employee

                                  18       terminations (e.g., 5 U.S.C. §§ 1204(a), 4303(e)–(f), 7511–13), and review by the Federal

                                  19       Labor Relations Authority of certain unfair labor practices (§ 7105(a)(2)). All agree this

                                  20       scheme impliedly excludes district courts from reviewing the same kinds of claims. This order

                                  21       therefore focuses on what the public-sector union plaintiffs claim and whether those claims are

                                  22       of the type intended to be channeled into this scheme.1

                                  23            What the public-sector unions claim — along with other plaintiffs — is that the Office of

                                  24       Personnel Management acted ultra vires when it directed agencies to terminate tens of

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                                  26      This order uses “public-sector unions” because it concerns the five labor-union plaintiffs that
                                       represent federal employees — not the one labor-union plaintiff that represents private-sector
                                  27   employees (compare 2d Am. Compl. ¶¶ 15–19, with id. ¶ 26). The one private-sector union, the
                                       Association of Flight Attendants-CWA, AFL-CIO, complains that slashed staffing at the Federal
                                  28   Aviation Administration jeopardizes commercial-flight safety. The prior order already decided the
                                       district court has subject-matter jurisdiction for such organizations’ claims (TRO Mem. 13).
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                                   1    thousands of probationary employees en masse using “performance” as a pretext (2d Am.

                                   2    Compl. Claim I). Plaintiffs also bring three Administrative Procedure Act claims against OPM

                                   3    occasioned by these events: That OPM’s directive was “in excess of [OPM’s] authority,”

                                   4    “arbitrary” as to real employee performance or agency need, and procedurally busted —

                                   5    violating APA Subsections 706(2)(C), (A), and (D) (Claims II, III, and IV). A final APA

                                   6    claim alleges that OPM directed other agencies’ employees to report to OPM — violating

                                   7    Subsection 706(2)(D) (Claim V). The public-sector unions assert associational and

                                   8    organizational standing. How are they injured? Their members’ unlawful terminations cause

                                   9    the public-sector unions to lose dues, divert or raise resources to help those terminated, and

                                  10    suffer legal wrongs (id. ¶¶ 145–49). As relief, they seek a declaration and a recission of the

                                  11    directives, ensuring parties — and employees — remain in the positions they held but for the

                                  12    unlawful directives.
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                                  13          Whether these claims are of the type that should be channeled through the CSRA is

                                  14    informed by Thunder Basin’s three factors. Claims are not channeled into the CSRA’s scheme

                                  15    if they are “outside the agency’s expertise,” “if the suit is ‘wholly collateral to [the] statute’s

                                  16    review provisions,’” and “if ‘a finding of preclusion could foreclose all meaningful judicial

                                  17    review.’” Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 489 (2010)

                                  18    (quoting Thunder Basin, 510 U.S. at 212–13). Of course, “the same conclusion might follow if

                                  19    the factors point in different directions. The ultimate question is how best to understand what

                                  20    Congress has done . . . .” Axon Enter., 598 U.S. at 186. This order takes each factor in turn.

                                  21         1.      OUTSIDE THE AGENCY’S EXPERTISE?
                                  22          The public-sector unions’ claims “raise[ ] only a ‘standard’ issue of administrative and

                                  23    constitutional law, relating not at all to ‘considerations of agency policy.’” Id. at 188 (quoting

                                  24    Free Enter. Fund, 561 U.S. at 491). The ultra vires claim asks whether the OPM had any

                                  25    authority to direct another agency to terminate its employees, and whether by purporting to

                                  26    speak such power into existence the executive violated the constitution’s separation of

                                  27    executive and legislative functions. “The [MSPB and FLRA] know[ ] a good deal about

                                  28    [employment and labor] policy, but nothing special about the separation of powers. For that
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                                   1    reason, [the Supreme Court has observed], ‘agency adjudications are generally ill suited to

                                   2    address structural constitutional challenges’ — like those [ ] here.” See id. at 194–95 (quoting

                                   3    Carr v. Saul, 593 U.S. 83, 92 (2021)) (re FTC).

                                   4          Nor are the public-sector unions’ ultra vires and APA claims intertwined with factual and

                                   5    policy questions that would benefit from the MSPB’s or the FLRA’s expertise. This is not a

                                   6    case where a threshold question requires their expertise — such as whether an employee’s

                                   7    “resignation amounted to a constructive discharge” — before reaching a statutory or

                                   8    constitutional claim about the directive to terminate. E.g., Elgin v. Dep’t of Treasury, 567 U.S.

                                   9    1, 22–23 (2012) (employee’s claims proper before MSPB). Nor is it one where the core

                                  10    questions are wrapped up in the employer-agency policy choices that the MSPB or the FLRA

                                  11    commonly parse — such as whether one military branch acted arbitrarily when it ordered its

                                  12    dual-status employees to wear military uniforms while performing civilian functions, sowing
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                                  13    “confusion . . . when having or not having the protections of the Geneva Conventions [wa]s all

                                  14    too real.” E.g., AFGE v. Sec’y of the Air Force, 716 F.3d 633, 635, 638 (D.C. Cir. 2013)

                                  15    (cleaned up) (unions’ claims channeled to FLRA). “[T]he Government here [ ] pretend[s] that

                                  16    [the] constitutional claims are similarly intertwined with or embedded in matters on which the

                                  17    [MSPB and the FLRA] are expert.” See Axon Enter., 598 U.S. at 195. But defendants point to

                                  18    no specific fact or issue in our circumstances.

                                  19         2.      COLLATERAL TO THE STATUTE’S REVIEW PROVISIONS?
                                  20          The public-sector unions’ claims are also collateral to the types of claims brought before

                                  21    the MSPB or the FLRA. The channeling “inquiry contemplates (as our collateral-order

                                  22    doctrine also does) that even [if some underlying agency] proceeding is pending, an occasional

                                  23    claim may get immediate review [in a district court] — in part because it involves something

                                  24    discrete.” Id. at 194; cf. Abney v. United States, 431 U.S. 651, 659 (1977) (double jeopardy

                                  25    collateral to guilt or innocence).

                                  26          Here, the public-sector unions’ ultra vires or “separation-of-powers claim is not about”

                                  27    each employer agency’s purported decision to terminate any or all of its employees. Cf. Axon

                                  28    Enter., 598 U.S. at 191. Instead, it is about a prior controlling event: Did the OPM exceed its
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                                   1    authority when it directed all federal agencies to terminate their probationers en masse? This

                                   2    distinguishes these claims from others that have attacked, substantively or procedurally, one

                                   3    agency’s decision about one employee or its own workforce, which are the kinds of claims

                                   4    appellate courts have channeled into the CSRA. E.g., Fausto, 484 U.S. at 441–43 (challenge to

                                   5    FWS decision to terminate one FWS employee — channeled to MSPB); Elgin, 567 U.S. at 22–

                                   6    23 (IRS decision to terminate one IRS employee, in light of OPM’s employment-eligibility

                                   7    findings per regulations — to MSPB); Veit v. Heckler, 746 F.2d 508, 509 (9th Cir. 1984)

                                   8    (SSA’s merit rating of one SSA employee — district court review refused); Saul v. United

                                   9    States, 928 F.2d 829, 831, 837, 843–44 (9th Cir. 1991) (SSA supervisors’ “job-related wrongs”

                                  10    upon one SSA employee — to MSPB); Karahalios, 489 U.S. at 533 (one DOD employee’s fair

                                  11    representation by union before DOD — to FLRA); Air Force, 716 F.3d at 635–36, 639–40 (Air

                                  12    Force dress code for Air Force workforce — to FLRA). The claims here are instead like others
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                                  13    challenging the executive’s power to impose government-wide personnel policy, not “any

                                  14    [one] personnel action,” claims which have remained in district court. E.g., Feds for Med.

                                  15    Freedom v. Biden, 63 F.4th 366, 369 (5th Cir.) (en banc), vacated as moot, 144 S. Ct. 480

                                  16    (2023).

                                  17         When reckoning with this caselaw, defendants vague out: They do not attempt to show

                                  18    how the facts of this case compare with the first string of cases, instead merely saying that

                                  19    plaintiffs never “distinguish the facts of their case” from those of Fausto, Elgin, or Veit (Defs.’

                                  20    TRO Opp. 14). Plaintiffs plainly did, and do so again (Pls.’ TRO Br. 26; Pls.’ Supp. Br. 7).

                                  21    Nor do defendants meaningfully attempt to show how the facts of this case contrast with those

                                  22    of Feds for Medical Freedom, instead shrugging off that decision as “inapposite” only because

                                  23    the separation-of-powers claims were there brought against the president, not against the OPM

                                  24    (Defs.’ TRO Opp. 14–15). But defendants fail to persuade why that distinction makes a

                                  25    difference here. Defendants are correct that these claims do not attack the constitutionality of

                                  26    an agency review scheme itself, unlike other separation-of-power claims recently channeled

                                  27    out of agency schemes and into district court. E.g., Free Enter. Fund, 510 U.S. at 490–91,

                                  28    497–98. But a separation-of-powers claim is a separation-of-powers claim. And, these claims
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                                   1    still zero in on the “illegitimate decisionmaker” that ordered the terminations, not on any one

                                   2    resulting termination. Cf. Axon Enter., 598 U.S. at 191.

                                   3          The public-sector unions’ “separation-of-powers claim is not [simply] about” OPM’s

                                   4    rulemaking. Instead, the ultra vires challenge to OPM’s directive to terminate agencies’

                                   5    probationers — about ten percent of some agencies’ workforces — presents structural,

                                   6    constitutional questions akin to those that would arise if the OPM directed agencies to impound

                                   7    ten percent of their funding or shutter ten percent of their services. In short, the claims here are

                                   8    collateral to the employer agencies’ actions regarding any one employee. The claims attack a

                                   9    different agency without any such authority.

                                  10         3.      PRECLUDED FROM ALL MEANINGFUL JUDICIAL REVIEW?
                                  11          The public-sector unions’ ultra vires and other claims will not be subject to judicial

                                  12    review if not litigated here. See id. at 190 (rule). As it turns out, the ultra vires claim is not
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                                  13    one that can be brought directly in the MSPB or the FLRA. Worse, there is not even some

                                  14    other claim that could be brought reliably through the MSPB or the FLRA such that this one

                                  15    might be resurrected by a court of appeals. This is unsurprising: OPM Acting Director

                                  16    Charles Ezell told all agency heads that terminations of probationary employees were

                                  17    unreviewable through the MSPB:

                                  18
                                                     Probationary periods are an essential tool for agencies to assess
                                  19                 employee performance and manage staffing levels. Employees on
                                                     probationary periods can be terminated during that period without
                                  20                 triggering appeal rights to the [MSPB].

                                  21    (Dkt. No. 64-1 (January 20, 2025, memorandum)). Nor did Ezell note any prospect for review

                                  22    via collective bargaining agreements or the FLRA.

                                  23                 A.      VIA THE MERIT SYSTEMS PROTECTION BOARD?
                                  24          Under the MSPB’s statutory scheme, there is arguably no way to bring a direct challenge

                                  25    to a mass removal. But this issue matters none for probationary employees. “An employee”

                                  26    cannot contest even “a removal” if she is probationary. 5 U.S.C. § 7513(d) (relief); id.

                                  27    §§ 7511(a)(1), 7512 (bar); id. § 4303(e)–(f); Forest v. MSPB, 47 F.3d 409, 412 (Fed. Cir.

                                  28    1995).
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                                   1           Under the MSPB’s statutory scheme, a probationer could ask the Office of Special

                                   2    Counsel to investigate a “prohibited personnel practice” implicated by her termination. 5

                                   3    U.S.C. § 1214(a)(1)(A). The OSC could choose to seek a stay of the action at the MSPB, and

                                   4    later petition for its correction there, too. Id. § 1214(b)(1)–(2). If the MSPB took up the

                                   5    petition, its decision would be reviewable by a federal court. Id. § 1214(c) (incorporating

                                   6    Section 7703(b)). But the OSC’s decision to decline to petition the MSPB would not be. Only

                                   7    a “final order or decision of the [MSPB]” is reviewable. Ibid. Thus, Section 1214 “provides

                                   8    only for judicial review of [MSPB] action, and not every [OSC] action is encapsulated in a

                                   9    final [MSPB] order.” See Free Enter. Fund, 561 U.S. at 490.

                                  10           This is like the situation in Free Enterprise Fund, where the Supreme Court “found that

                                  11    the [Securities] Exchange Act provided no ‘meaningful avenue of relief’ for [an accounting]

                                  12    firm, given the separation between the [Public Company Accounting Oversight] Board and the
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                                  13    [Securities and Exchange] Commission. Not every [PCAOB] action, we explained, culminates

                                  14    in [SEC] action — which alone the statute makes reviewable in a court of appeals.” Axon

                                  15    Enters., 598 U.S. at 188 (citation omitted) (quoting 561 U.S. at 490–91). “That meant the

                                  16    [claimant], absent district court jurisdiction, might never have had judicial recourse.” Id. at

                                  17    190.

                                  18                  B.     VIA THE FEDERAL LABOR RELATIONS AUTHORITY?
                                  19           Now, we turn to peer down the pathways trodden by collective bargainers, some of which

                                  20    also lead through the MSPB, but most of which lead through the FLRA.

                                  21           We start with the collective bargaining agreements themselves: Employees covered by

                                  22    such agreements can elect to challenge agency actions under the statutory scheme (above) or

                                  23    under their agreement’s scheme (arbitration). See 5 U.S.C. § 7121. But no party here argues

                                  24    that any agreement provided an avenue for arbitrating the issues in this case.

                                  25           The other collective-bargaining related pathways are also unavailing. They focus on

                                  26    preserving the opportunity for workers to bargain as such, e.g., id. § 7105(a)(2)(G), 7116,

                                  27    7118, which again no party contends is implicated here. That distinguishes this case from

                                  28    AFGE v. Trump, which challenged an executive order that expressly sought to constrain how
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                                   1    agencies bargained. 929 F.3d 748, 753–54 (D.C. Cir. 2019) (channeled to FLRA). There,

                                   2    those bargaining claims could carry with them — whether reviewed by the FLRA or reached

                                   3    de novo by the court of appeals — the constitutional and statutory claims. Id. at 756. The

                                   4    problem here is that there are no bargaining claims to begin with. The challenge to the OPM

                                   5    directive that ordered mass terminations across all (or most) agencies cannot readily be recast

                                   6    as a dispute on, for instance, negotiability. 5 U.S.C. §§ 7105(a)(2)(E) (incorporating Section

                                   7    7117(c)(1)). And, in any case, the FLRA appears unable to review grievances about “a

                                   8    Government-wide rule or regulation” as such. Id. § 7117(a)(1); see Trump, 929 F.3d at 757;

                                   9    U.S. Dep’t of Treasury v. FLRA, 996 F.2d 1246, 1252 & n.6 (D.C. Cir. 1993).

                                  10          For similar reasons, asking the FLRA’s General Counsel to investigate the OPM’s

                                  11    directive as an unfair labor practice is unavailing. 5 U.S.C. § 7118(a). Even were the General

                                  12    Counsel to investigate the termination, there is no assurance it would submit a complaint to the
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                                  13    FLRA. The General Counsel must issue a “written statement” explaining its decision, ibid.,

                                  14    but the statutory scheme does not provide for judicial review of the statement — only for

                                  15    review of “any final order of the [FLRA],” id. § 7123(a). Once again, that separation “mean[s]

                                  16    the [public-sector unions], absent district court jurisdiction, might never have [ ] judicial

                                  17    recourse.” Axon Enters., 598 U.S. at 190. And that sums up the prospective pathways through

                                  18    the FLRA.

                                  19          In sum, but for district court jurisdiction, the public-sector unions will be precluded from

                                  20    judicial recourse and relief even for their separation-of-powers claim. Because “Congress

                                  21    rarely allows claims about agency action to escape effective judicial review,” particularly

                                  22    constitutional claims, this final Thunder Basin factor favors permitting them to go forward in

                                  23    district court. Axon Enter., 598 U.S. at 186 (citing Bowen v. Mich. Acad. Of Fam. Physicians,

                                  24    476 U.S. 667, 670 (1986)); see Thunder Basin, 510 U.S. at 207 n.8 (citing Dunlop v.

                                  25    Bachowski, 421 U.S. 560, 567 (1975)); cf. Mathews v. Eldridge, 424 U.S. 319, 330 (1976).

                                  26                                      *             *               *

                                  27          The resulting conclusion is not the one reached before. And, it is not the one three other

                                  28    district courts reached in recent orders, all at the outset of the actions (TRO Mem. 11–12): Am.
                                                                                         8
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                                   1    Foreign Serv. Ass’n v. Trump, No. 25-cv-352 (CJN), 2025 WL 573762, at *8–11 (D.D.C. Feb.

                                   2    21, 2025) (Judge Carl Nichols) (dissolving TRO); AFGE v. Ezell, Civ. No. 25-10276-GAO,

                                   3    2025 WL 470459, at *2 (D. Mass. Feb. 12, 2025) (Judge George O’Toole, Jr.) (dissolving

                                   4    TRO); Nat’l Treasury Emps. Union v. Trump, No. 25-cv-420 (CRC), 2025 WL 561080, at *5–

                                   5    8 (D.D.C. Feb. 20, 2025) (Judge Christopher Cooper) (denying TRO). This order pauses to

                                   6    point out why this decision now comes out differently than these orders.

                                   7         In American Foreign Service, the plaintiff unions represented employees of the United

                                   8    States Agency for International Development. 2025 WL 573762, at *1, 8–11. But those

                                   9    employees were subject to the Foreign Service Act of 1980, not the CSRA. Because the

                                  10    employees could seek relief through the FSA’s review scheme (including for constitutional

                                  11    claims on appeal), there was no basis for their unions to do so in district court.

                                  12         In Ezell, the plaintiff unions represented employees across the federal government who
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                                  13    received a “Fork in the Road” email purporting to offer deferred resignation — to stop work

                                  14    now, resign later, and get paid between. 2025 WL 470459, at *1. After concluding the unions

                                  15    in any case lacked standing, the district court applied all three Thunder Basin factors in one

                                  16    paragraph, asserting that the unions’ aggrieved members — who were not exclusively

                                  17    probationary — could bring claims through the CSRA’s processes. Id. at *2. Not so here.

                                  18         Finally, in National Treasury, the plaintiff unions (none overlapping with ours)

                                  19    represented federal employees who faced termination because of an executive order that

                                  20    directed “mass firings through RIFs” in ways violating requirements for RIFs. Am. Compl.

                                  21    ¶¶ 9, 31, 38–39, 42–44, 52, Nat’l Treasury, No. 25-cv-420 (CRC) (D.D.C. Feb. 17, 2025). “In

                                  22    addition,” the unions alleged that “OPM has contacted agencies to direct them to terminate

                                  23    their probation[ers],” and that “OPM invited [2.2 million employees] to opt into a deferred

                                  24    resignation program.” Id. ¶¶ 53–62, 63–68. These allegations boiled down to two claims:

                                  25    That the “mass firing of employees and the attempt to force resignations across the federal

                                  26    civilian workforce [I] violate separation of powers principles” and “[II] the [APA] by

                                  27    implementing RIFs contrary to regulations.” Id. at Count I, II. In its order applying Thunder

                                  28    Basin, the district court emphasized the FLRA’s and MSPB’s experience in labor relations and
                                                                                         9
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                                   1       complex reduction-in-force provisions. 2025 WL 561080, at *8 & n.5. Because some claims

                                   2       could go forward through one or both schemes (the order did not specify which claims or

                                   3       where), and because constitutional claims could be asserted on appeal, channeling the claims

                                   4       into CSRA review did not foreclose judicial recourse. Id. at *7. Not here. As above, our case

                                   5       does not turn on the intricacies of RIFs, nor take on non-probationers’ terminations. In our

                                   6       case, the alleged wrongs — of sweeping separations-of-powers violations and generic APA

                                   7       rulemaking violations — will go without judicial recourse if not brought in district court.

                                   8             That said, this order is not the first to decide district courts have subject-matter

                                   9       jurisdiction to hear claims related to the same OPM directive to terminate probationary

                                  10       employees. In Maryland v. United States Department of Agriculture, state governments

                                  11       complained of the federal government’s failure to notify them before probationers’ mass

                                  12       terminations, as RIF provisions oblige. Civ. No. JKB-25-0748, 2025 WL 800216, at *3 (D.
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 United States District Court




                                  13       Md. Mar. 13, 2025) (Judge James Bredar), appeal docketed, No. 25-1248 (4th Cir. Mar. 17,

                                  14       2025). The district court concluded that the CSRA provided no prospect for judicial recourse,

                                  15       and thus that “the CSRA does not preclude this Court’s jurisdiction.” Id. at *15. For some of

                                  16       the same reasons (and for some different ones, above), this Court determines the same is

                                  17       ultimately true here for the public-sector unions’ claims.

                                  18                                          *             *               *

                                  19             The foregoing is dispositive. It is unnecessary to reach the further question whether any

                                  20       impairment by the president of the OSC, MSPB, or FLRA — or argument by the government

                                  21       attacking the constitutionality of the OSC, MSPB, and FLRA in its other pending cases —

                                  22       provides a further basis for subject-matter jurisdiction in the district court for the claims in this

                                  23       case.2

                                  24
                                       2
                                  25      The CSRA’s review channels are being restrained. As for the OSC, Special Counsel Hampton
                                       Dellinger was fired by the president on February 7, 2025 — about a week before the OPM’s
                                  26   phone calls with agency heads concerning mass terminations. Dellinger took to district court and
                                       on summary judgment won an injunction to remain in his post but resigned following the appeals
                                  27   court’s stay pending appeal. The new special counsel, Secretary of Veterans Affairs Doug
                                       Collins, retains both posts. As for the MSPB, three days after firing Special Counsel Dellinger, the
                                  28   President fired MSPB Chair Cathy Harris, reducing the number of presiding board members to
                                       just one — below the quorum to render final decisions. Chair Harris, like Special Counsel
                                                                                        10
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                                   1          All three Thunder Basin factors counsel that the public-sector unions’ claims are not of

                                   2     the kind Congress intended to be reviewed through the CSRA. As in Free Enterprise Fund,

                                   3     561 U.S. at 489, “we presume that Congress does not intend to limit” its command: The

                                   4     district court “shall have original jurisdiction.” 28 U.S.C. § 1331.

                                   5                                             CONCLUSION

                                   6          The district court has subject-matter jurisdiction to hear and decide the public-sector

                                   7     union plaintiffs’ claims. It also has subject-matter jurisdiction to hear and decide the

                                   8     organizational plaintiffs’ claims for the reasons set out before (TRO Mem. 12–13).

                                   9

                                  10          IT IS SO ORDERED.

                                  11

                                  12     Dated: March 24, 2025.
Northern District of California
 United States District Court




                                  13

                                  14

                                  15                                                             UNITED STATES DISTRICT JUDGE
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                                       Dellinger, won permanent injunctive relief in the district court but now faces possible vacatur
                                  25   pending appeal. This would not be the first time that the MSPB’s ability to provide relief was
                                       disabled. From January 7, 2017 to March 3, 2022, the MSPB “could not decide any petitions for
                                  26   review or other headquarters cases requiring [MSPB board] action because it did not have a
                                       quorum of members,” creating a backlog of 3,793 cases. MSPB Press Release (Oct. 1, 2024),
                                  27   https://www.mspb.gov/publicaffairs/press_releases/MSPB_Provides_Update_on_Inherited_Invent
                                       ory.pdf. As for the FLRA, also on February 10, the President fired FLRA Chair Susan Tsui
                                  28   Grundmann. She also won injunctive relief against her removal, and “the government has not yet
                                       appealed the court’s order” (Defs.’ Supp. Br. 8).
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